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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA

                                            )
E.I. DU PONT DE NEMOURS AND                 )
COMPANY, SOLAE, L.L.C.                      )
                                            )
                      Plaintiff,            )
                                            )
       v.                                   )       Civil Action No. 04-2611 MJD/JGL
                                            )
GEORGE R. NEELY,                            )
                                            )
                      Defendant.            )
                                            )
                                            )


       AMENDED COMPLAINT FOR DECLARATORY JUDGMENT OF
    NON-INFRINGEMENT, OWNERSHIP AND NON-BREACH OF CONTACT

       Plaintiffs E.I. du Pont de Nemours and Company (“DuPont”) and Solae L.L.C.

(“Solae”) hereby seek a declaratory judgment against Defendant George R. Neely (“Neely”),

and in support thereof allege:

       1.   DuPont is a corporation organized under the laws of the State of Delaware,

having its principal place of business at 1007 Market Street, Wilmington, Delaware 19898.

       2.   Solae is a limited liability company organized under the laws of the State of

Delaware, having its principal place of business at 1034 Danforth Drive, St. Louis, Missouri

63102. On March 28, 2003, DuPont formed Solae by converting its wholly owned

subsidiary Protein Technologies International, Inc. (“PTI”) to a limited liability corporation

under Delaware law. Solae is 100% owned by Solae Holdings, L.L.C. DuPont currently

holds a 71.94% interest in Solae Holdings, L.L.C.
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       3.   Upon information and belief, Neely is an individual residing in the State of

Texas. Neely is an attorney admitted to practice law in the State of Texas and has a principal

place of business at 4503 Montrose Blvd., Houston Texas 77006.

       4.   This is an action pursuant to 28 U.S.C. §§ 2201 and 2202 seeking a declaratory

judgment that:

              a.     DuPont and Solae have not infringed United States Patent No.
                     5,858,449 (hereinafter, “the ‘449 Patent”, attached hereto as Exhibit A),
                     entitled "Isoflavone-Enriched Soy Protein Product And Method For Its
                     Manufacture;"

              b.     DuPont is an owner of the ‘449 Patent and that DuPont has duly
                     granted Solae a license to practice the '449 Patent;

              c.     That a Product Development and Commercialization Agreement dated
                     February 14, 1997 between DuPont and Prosource, Inc. (“Prosource”)
                     (the “Commercialization Agreement”, attached as Exhibit I), as
                     amended February 20, 1998 (Amendment attached as Exhibit J) was
                     duly terminated effective August 18, 1999; and

              d.     That Neely has not acceded to Prosource’s position and DuPont owes
                     neither Prosource nor Neely any duty, payment or obligation of any
                     manner under the terms of the terminated Commercialization
                     Agreement.

       5.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1332

1338, 2201 and 2202 and ancillary and/or pendant jurisdiction.

       6.   Personal jurisdiction and venue are proper based on Neely’s appearance as a

creditor by assignment in the United States Bankruptcy Court, District of Minnesota matter

In Re Prosource, Inc., No. 00-60307. It is through said assignment and bankruptcy

proceeding that Neely alleges to have acquired a joint ownership interest in the ‘449 Patent

and Prosource’s rights under the Commercialization Agreement.




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                                       BACKGROUND

       7.    DuPont is an owner of the ‘449 Patent, by a May 15, 1997 assignment from the

inventors, Donald Lee Crank and Phillip Scott Kerr, and as publicly recorded in the United

States Patent and Trademark Office. A copy of the assignment document is attached hereto

as Exhibit B. The assignment does not limit DuPont's use of or rights to the '449 Patent

technology or invention in any way. See Exhibit B.

       8.    On February 14, 1997 DuPont and Prosource, Inc. entered into the

Commercialization Agreement. See Exhibit I. The object of the Commercialization

Agreement was, using the art of the ‘449 Patent, then filed but not granted, “to develop and

commercialize novel soy protein products so as to sell beans, the soyflour produced from the

beans, the novel protein products produced from such beans and/or the technology used to

produce same.” Id. at ¶ 1.

       9.    The Commercialization Agreement provided that DuPont “grant[] to [Prosource]

a non-exclusive license for 17 years, on a worldwide basis (1) to manufacture, produce, and

market novel soy protein products from the new soybean varieties, from the soyflour from

such beans . . . and (2) to use all technology developed pursuant to this Agreement in

connection with such manufacture, production and marketing. . . .” Id. ¶ 4(a).

       10. The Commercialization Agreement provided that DuPont make certain royalty

payments to Prosource, payable until February 14, 2004, in connection to any license granted

by DuPont to third parties for the manufacture, production, or marketing or novel soy protein

products “contingent on [Prosource] satisfactory (performing requirements per reasonable

timelines) meeting” its responsibilities, including to:

               a.     “provide technology for development of product;”


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                b.    “produce products to verify patent claims;”

                c.    “perform evaluation of products in typical meat and beverage
                      applications;”

                d.    “provide data on claims and applications in the form of quarterly
                      reports;”

                e.    “support product advertising and marketing efforts;”

                f.    “prepare a product commercialization plan;”

                g.    “manufacture novel soy protein for commercial use if one of the
                      following conditions is met:

                      1.     The manufacture of such product is commercially feasible, that
                             is, provides a two year simple payback on total capital
                             investment.

                      2.     If DuPont agrees to participate in funding the capitalization in a
                             mutually acceptable manner;” and

                h.    “seek sublicenses to third parties who will agree to manufacture soy
                      protein product.”

Id. at ¶¶ 4(c), 5.

        11. The Commercialization Agreement provided that the “Agreement is not

assignable by either party without prior written approval of both parties.”

        12. By letter dated July 19, 1999 DuPont informed Prosource that pursuant to the

terms of the Commercialization Agreement and due to Prosource’s material breach of the

Commercialization Agreement that DuPont exercised it right to terminate the Agreement

effective August 19, 1999. Attached as Exhibit K.

        13. Prosource did not cure the material breach of the Commercialization Agreement

by August 19, 1999, effectively terminating the contract. At that time, Prosource had failed




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to meet its responsibilities set forth in Paragraph 5 of the Commercialization Agreement and

quoted in paragraph 4 above.

       14. On July 1, 2000, DuPont granted to PTI an irrevocable, nonexclusive,

worldwide and royalty free license to make, use, or sell food applications to the extent

permitted under any patent rights held by DuPont, including inter alia Patent ‘449. As a

result of the conversion from PTI to Solae, Solae has acceded by operation of law to PTI’s

position as a licensee of the ‘449 patent.

       15. Neither DuPont, PTI, Solae nor any third party licensee of DuPont, PTI or Solae

have to this date developed or sold a commercial product using the art of Patent ‘449.

       16. In a recent action filed in a state court in Texas (The District Court, Harris

County1) and relating to the '449 Patent, Neely claims to be the registered owner of the ‘449

Patent, by assignment on or about October 8, 2001, as filed with the United States Patent and

Trademark Office on or about October 20, 2001. Neely has further alleged that he acceded

to Prosource’s position regarding the terminated Commercialization Agreement.

       17. In the Texas action, Neely sought, and was granted,2 an investigatory deposition,

despite a clear record that the issues involved are federal issues more appropriately decided

in a United States District Court.3




1      On November 26, 2003, Neely filed a Petition for Investigatory Deposition purusuant to
       Texas Rule of Civil Procedure 202. Thereafter, on February 11, 2004, Neely filed a
       Supplemental Petition For Investigatory Deposition Under TRCP 202.1(b) Or In The
       Alternative TRCP 202.1(a) (the "Petition") (Exhibit C hereto).
2
       See January 5, 2004 Order (Exhibit D hereto).
3
       See DuPont's Plea to the Jurisdiction and Objections to Neely's Supplemental Rule 202
       Petition (Exhibit E hereto).


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       18. On October 24, 2003, Neely sent a letter to Solae (Exhibit F hereto), requesting

information regarding Solae's alleged practice of the '449 Patent invention.

       19. In an October 29, 2004 telephone conversation with Solae, Neely alluded to

potential patent infringement litigation stemming from Solae's alleged practice of the '449

Patent. See October 30, 2003 Correspondence to Neely (Exhibit G hereto).

       20. On October 31, 2004, Neely again sent yet another letter to Solae (Exhibit H

hereto), alluding to his discussions with Solae and DuPont concerning their use and/or rights

under the '449 Patent and requesting documents evidencing DuPont and Solae's authority to

use the '449 Patent.

       21. In an October 30, 2004 letter, Solae and DuPont informed Neely (1) that DuPont

is an owner of the '449 Patent; (2) that Solae has a valid license to practice the '449 Patent

invention; (3) that as a matter of law, "Title 35 U.S.C. § 262 provides a joint patent owner

with the right to make, use or sell a patented invention without the consent of and without

accounting to the other owners;" and (4) that "Solae and DuPont will consider any attempt to

assert U.S. Patent No. 5,585,449 against Solae and/or DuPont as a violation of Rule 11 of the

Federal Rules of Civil Procedure . . . ." Exhibit G at pp. 1-2.

       22. From October 2003 to the present, Neely has engaged in a persistent course of

correspondence, communications, and negotiations, both by telephone and in writing to

Solae and DuPont, in an attempt to preclude DuPont, a rightful owner of the '449 Patent, and,

Solae, a rightful licensee of DuPont, from practicing the '449 invention.

       23. In his February 11, 2004 Supplemental Petition (Exhibit C; see supra p. 2, n.1),

Neely claims to be the owner of the '449 Patent; admits to discussions with "certain legal




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representatives of Respondents [DuPont and Solae]" (Exhibit C at ¶3.1); and states that he

"anticipates litigation concerning the subject matter." Id. at ¶ 3.7 (emphasis added).

       24. During the course of the aforementioned correspondence, communications, and

business dealings, Neely has repeated his infringement allegations and threatened to bring

suit against DuPont and/or Solae. See Exhibits C, F, G, H. In response to Neely's assertions,

Solae and DuPont have denied infringement, directed Neely to the applicable sections of

Title 35 of the United States Code, and refused Neely's demands. See Exhibit G.

       25. Plaintiffs have a reasonable apprehension that they will be sued by Neely for

alleged infringement of the ‘449 Patent and breach of the Commercialization Agreement.

       26. Plaintiffs have good and meritorious defenses against Neely's infringement

claim, namely that DuPont and Solae have not infringed and cannot, as matter of law,

infringe the ‘449 Patent, whether directly, contributorily or by inducement, because DuPont

is a joint owner of the '449 Patent and has licensed its interest to Solae.

       27. Likewise, Plaintiffs have good and meritorious defenses against any claim of

breach of the Commercialization Agreement, namely that the Commercialization Agreement

was effectively terminated; that the Commercialization Agreement was not effectively

assigned to Neely on October 8, 2001; that there have been no sales by third parties of

products developed using the art of the ‘449 Patent and therefore DuPont does not own

Prosource any royalty payment; and that DuPont, as a matter of law, owes no further duty to

Prosource or Neely under the terms of the Commercialization Agreement.

       28. As such, plaintiffs will be filing a motion for judgment on the pleadings as soon

as they can, i.e., when a response to the complaint is filed.




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          29. In light of the foregoing allegations, an actual case and controversy therefore

exists between Plaintiffs and Neely regarding the non-infringement and ownership of the

‘449 Patent and the existence of any ongoing duty under the terms of the Commercialization

Agreement.

                               COUNT I - NONINFRINGEMENT

          30. Plaintiffs repeat and reallege the facts set forth in paragraphs 1 through 29 as if

fully set forth herein.

          31. Plaintiffs are entitled to a declaration that they have not infringed the '449

Patent.

                                   COUNT II - OWNERSHIP

          32. Plaintiffs repeat and reallege the facts set forth in paragraphs 1 through 31 as if

fully set forth herein.

          33. Plaintiffs are entitled to a declaration that DuPont is a co-owner of the '449

Patent and that Solae has been duly licensed by DuPont to practice the ‘449 Patent.

                          COUNT III – NON-BREACH OF CONTRACT

          34. Plaintiffs repeat and reallege the facts set forth in paragraphs 1 through 33 as if

fully set forth herein.

          35. DuPont is entitled to a declaration that DuPont terminated the

Commercialization Agreement, effective August 19, 1999; that Prosource could not have

assigned any rights under the Commercialization Agreement to Neely; and that DuPont, as a

matter of law, owes no further duty to Prosource or Neely under the terms of the

Commercialization Agreement.




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       36. In the alternative, even if any portion of the Commercialization Agreement

survived termination and was assigned to Neely, there have been no sales of products

developed using the art of the ‘449 Patent and therefore DuPont does not own Prosource or

Neely any royalty payment.

                            COUNT IV – ENJOINING NEELY

       37. Plaintiffs repeat and reallege the facts set forth in paragraphs 1 through 36 as if

fully set forth herein.

       38. Plaintiffs are entitled to a declaration that Neely is enjoined from bringing or

maintaining an action or threatening to bring an action against DuPont or Solae based on the

'449 Patent. or the Commercialization Agreement.

       WHEREFORE, Plaintiffs prays:

       A.      For a judgment declaring that Plaintiffs have not infringed directly,
               contributorily or by inducement, United States Patent No. 5,858,449;

       B.      For a judgment declaring that DuPont is a joint owner of United States Patent
               No. 5,858,449 and that DuPont has duly licensed Solae to practice Patent No.
               5,858,449;

       C.      For a judgment declaring that the Commercialization Agreement has been
               effectively terminated; that Prosource could not have assigned any rights under
               the Commercialization Agreement to Neely; and that DuPont, as a matter of
               law, owes no further duty to Prosource under the terms of the
               Commercialization Agreement;

       D.      For a judgment enjoining Defendant from bringing or maintaining an action or
               threatening to bring an action on United States Patent No. 5,858,449, or the
               Commercialization Agreement against DuPont or Solae, or from charging or
               asserting infringement or breach thereof against DuPont, Solae, DuPont's
               licensees, or buyers, users, or manufacturers of DuPont products;

       E.      For an award of its attorneys’ fees and costs; and

       F.      For such other relief as the Court may deem just and proper.



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Dated: May 24, 2004                  FAEGRE & BENSON LLP

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